Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 1 of 13




                  EXHIBIT B-109
     Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 2 of 13

                                                                                  FILEDINOFFICE

                    IN THE SUPERIOR COURT OF FULTON COU~T

                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Michael Thomas Flynn                          )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A-Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the-lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in
                                                                           I
                                                                           i

           nature in that it was requested for the purpose of investigating; criminal disruptions
                                                                           I
                                                                           I



           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 3 of 13




     authorized to make recommendations concerning criminal prosecution. Further, the

     authority for a special purpose grand jury to conduct a criminal investigation has been

     upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

     Accordingly, the provisions of the Uniform Act to Secure the Attendance of

     Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.·

 3. Based on the representations made by the State in the attached "Petition for
 i

     Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

     O.C.G.A. § 24-13-90 et seq.", the Court finds that Michael Thomas Flynn, born

     December 24, 1958, (hereinafter, "the Witness") is a necessary and material witness

     to the Special Purpose Grand Jury's investigation. The Court further finds that the

     Witness currently resides in Englewood, Sarasota County, Florida.

 4. Based on the representations made by the State in the attached "Petition for

     Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

     O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness is a retired United

     States Army lieutenant general who briefly served as United States National Security

     Advisor under former President Donald Trump in early 2017. In December 2017, the

     Witness pleaded guilty to making false statements to the FBI during the course of

     former Special Counsel Robert Mueller's investigation into Russian interference in

     the 2016 election. In 2019, prior to his sentencing, the Witnes~ retained attorney
                                                                    I


     Sidney Powell to represent him in the matter. On November 25, 2020, former

     President Trump granted the Witness a full pardon for "any and all possible offenses"
                                                                    i
     arising out of the Special Counsel's investigation.
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 4 of 13



                                                                       I
                                                                       I



 5. Based on the representations made by the State in the attached j'Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds on or about December 17, 2020, the

    Witness appeared in a video interview broadcast on Newsmax, proposing that former

    President Trump "could order - within the swing states, if he wanted to - he could

    take military capabilities, and he could place them in those states and basically re-run

    an election in each of those states."

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on December 18, 2020,

    approximately three weeks after the issuance of the Witness's pardon, the Witness

    met with former President Trump, Sidney Powell, and others ~own to be associated

    with the Trump Campaign, at the White House. Public media reports indicate that the

    meeting focused on topics including invoking martial law, seizing voting machines,

    and appointing Powell as special counsel to investigate the 20:?,0election.

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on January 21, 2022, Politico

    published a draft executive order dated December 16, 2020, obtained by the United

    States House of Representatives Select Committee to Investigate the January 6th

    Attack on the United States Capitol. The draft order, which Wf!S ultimately not issued,

    directed the Secretary of Defense to seize and analyze certain 'voting machines used
                                                                   I


    in the 2020 election and appointed a special counsel to overse e the operation and
                                                                   1




                                                                   !
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 5 of 13




    "institute all criminal and civil proceedings as appropriate." T~is draft order is
                                                                           I
    consistent with statements made by the Witness and with publi~ media reports

    regarding the White House meeting between the Witness, former President Trump,

    and others on December 18, 2020.

 8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on I)ecember 2021, L. Lin Wood,

    an attorney licensed in Georgia, stated in a public media interview with CNBC that he

    hosted meetings at a plantation in South Carolina for the purpose of exploring options

    to influence the results of the November 2020 elections in Georgia and elsewhere.

    Wood stated that the Witness, Sidney Powell, Patrick Byrne, Doug Logan, and other

    individuals known to be associated with the Trump Campaign attended the meetings.

 9. Based on the representations made by the State in the attached "Petition for
                                                                       1




    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness; based on the

    information set forth above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning communications between himself and other
                                                                       !
    known and unknown individuals involved in the multi-state, coordinated efforts to

    influence the results of the November 2020 election in Georgia and elsewhere.

    Finally, the Witness's anticipated testimony is essential in that it is likely to reveal

    additional sources of information regarding the subject of this investigation.
                                                                      I
 '10. The testimony of the Witness will not be cumulative of any other evidence in this
                                                                      I
                                                                      I
    matter.
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 6 of 13

                                                                     'i
                                                                     i
                                                                     I
 11. The Witness will be required to be in attendance and testify before the Special
                                                                     iI

    Purpose Grand Jury on Tuesday, November 22, 2022, at 9:00 al.m, at the Superior
                                                                     I
                                                                     I
                                                                     I
    Court of Fulton County, Fulton County Courthouse, 136 Pryor:Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witn~ss fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 13. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while
 J traveling to and from this Court for the purpose of testifying for this case.
                                                                     i
                                                                    i
 14. The State of Georgia is aparticipant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
     Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 7 of 13




       15. This Certificate is made for the purpose of being presented to judge of the Circuit
                                                                           I




           Court of Sarasota County, Florida, by the State's Attorney for ~he 12th Judicial

           Circuit, Florida, or his duly authorized representative, who is proceeding at the

           request and on behalf of the Office of the Fulton County District Attorney.

      WITNESS MY HAND ANDSEAL as a judge of the Superior Court of Fulton County,

Georgia,
                    /1'~
      This the   __J_day of October, 2022.


                                                                               ncy
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 8 of 13




                     Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 9 of 13




IN RE: REQUEST FOR
            SPEC1AL PURJPOSE
            GRA..ND JURY

                OlRDER APPROVffiG REQUEST FOR SPECIAL PURPOSE
                GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100,et sea.

       The District Attorney for the Atlanta Judicial Circuit submitted to th~ judges of the
                        o                                                      I

Superior Court of Fulton County a request to impanel a special purpose jury, for the purposes set

forth in that request. This request was considered and approved by a majoricy of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IO0(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be;drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67, and 15- 12-100, to
                                                                                   1



                                                                                   '

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge detennines that the special

purpose grand jury cannot meet for safety or other reasons, or any time perio~s when normal
                                                                                       '
court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of
                                                                                       I


                                                                                       I

the Superior Court. The special purpose grand jury shall be authorized to in1estigate any and all
                                                                                       I
                                                                                       I


facts and circumstances relating directly or indirectly to alleged violations of'.the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       ...
        Pursuant to O.C.G.A. § 15-12-l0l(a), the Honorable Robert C. I. McBurney is hereby
       ·,




assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpos~ grand jury and receive its reports as provided by law.
  Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 10 of 13




                                                                                I
       This authorization shall include the investigation of any overt acts o'r predicate acts

relating to the subject of the special purpose grand jury's investigative purp\,ose. The special
                                                .                                i
                                                                                 I
purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see
                                                                                     '

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

     '. This Court also notes that the appointment of a special purpose grand jury will permit the

                                                                    "
time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to
                                                                               '
be devoted to the consideration of the:backlog of c1imina1matters that has accumulated as a

result of the COVID-19 Pandemic ..
                                                                                         i
                                                                                         I
        IT IS FURTHER O           ~D      that this Order shall be filed in the Office of the Clerk of
                                     ·,.(----------
                                        \        '\.
                                                                                         '


the Sijperior Court ofFulto Co~                     \\   (\




                                       ], L~·
        SO ORDERED, TH\                ~A~g\-,J,i                            ,2022.




                                CHRISTOP          S. BRASHER';--GHIEFJUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 11 of 13




                         Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 12 of 13



                       OFFICE OF THE FULTONCOUNT:{ DISTRICTATIO~EY
                                       ATLANTAJUDICLAL
                                                    CIRCUIT                         ;
                                                                                    I
                                    136 PRYORSTREETSW, 3RD FLOOR                    1



                                         ATLANTA,GEORGIA30303                       I
%nl    }T6),f{/ii,j                                                                 \TELEPHONE404-612-4639
DistrictArromey



      The Honorable Christopher S. Brasher
                                                                                4D2-2·-Ex- DODD/7
      Chief Judge, Fulton County Superior Court                                         !FILED IN OFFICE
      Fulton County Courthouse                                                          \                 J) ,
      185 Central Avenue SW, Suite T-8905
      Atlanta, Georgia 30303                                                            DE
                                                                                ,____
                                                                                •

                                                                                I   FULTON COUNTY, GA

                                                                                        !
      January 20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits. Please be advised that.the District Attorney's
      Office has received information indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, includingthe State's election of the President of the United
      States,was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney Ge:q.eral,and the United
      States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
      agency,~withjurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence, and a significant
      number of witnesses and prospective witnesses have refused to cooperate ~ith the investigation
      absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
      Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
      participate in an interview or otherwise offer evidence until he is presented with a subpoena by
      my office.
               :1
                  Please see Exhibit A, attached to this letter.

      Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
      to O.C.G.A. § 15-12-100 et. seq., that a special purpose grand jury be imparieled for the purpose
      of investigating the facts and circumstances relating directly or indirectly to '.possibleattempts to
      disrupt the lawful administration of the 2020 elections in the State ~f Georgia. Specifically, a
      special purpose grand jury, which will not have the authority to return an indictment but may
                                                                                       1
      make recommendations concerning criminal prosecution as it shall see fit, is needed for three
      reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
      required in order to accomplish its investigation, wbich will likely exceed a Aormalgrand jury
          Case 1:23-cv-03721-SCJ Document 1-120 Filed 08/21/23 Page 13 of 13



                                                                             I
    term; second, the special purpose grand jury would be empowered to reviewthis matterand this
    matter only, with an investigatory focus appropriate to the complexity of\the facts and
    circumstances involved; and third, the sitting grand jury would not be required to attempt to
    address this matter in addition to their normal duties.                   \
                                                                              I
    Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101, a Fulton County Superior
    Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
    investigation and duties.
          d
    I have attached a proposed order impaneling the special purpose grand jury for the consideration
    of the: Court.
           :        h

  \espec,, tfulfy\,         I

     ~\ 1JY!l
~~~~il_@
'----mstrict Attorney, Atlanta Judicial Circuit

    Exhibit A: Transcript of October 31, 2021 episode of lvfeet the Press on NBC News at 26:04
    (video archived at https://vvVvW.youtube.com/watch?v=B71cBRPgt9k)
    Exhibit,B:ProposedOrder
               •:

    cc:
    The Honorable Kimberly M. Esmond Adams
    The Hohorable Jane C. Barwick
            '
    The Honorable Rachelle Camesdale
    The Honorable Thomas A. Cox, Jr.
    The Honorable Eric Dunaway
    The Honorable Charles M. Eaton, Jr.
    The Honorable Belinda E. Edwards
    The Honorable Kelly Lee Ellerbe
    The Honorable Kevin M. Farmer
    The Honorable Ural Glanville
    The Honprable Shakura L. Ingram
    TheHonorable RachelR. Krause
    The Honorable Melynee Leftridge
    The Honorable Robert C.I. 1vlcBumey
    The Honorable Henry M. Newkirk
    The Hono~able Emily K. Richardson
    The Honorable Craig L. Schwall, Sr.
    The Honorable Paige Reese Whitaker
    The Honorable Shennela J. \Villiams
    Fulton County Clerk of Superior CourtCathelene "Tina" Robinson
